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       In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                          No. 14-112V
                                    Filed: October 15, 2015

* * * * * * * * * * * * * * * *                             UNPUBLISHED
YVONNE HOOPER,                *
                              *                             Special Master Gowen
          Petitioner,         *
                              *
v.                            *                             Attorneys’ Fees and Costs.
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for petitioner.
Althea W. Davis, United States Department of Justice, Washington, DC, for respondent.

                    DECISION ON ATTORNEYS’ FEES AND COSTS1

       On February 7, 2014, Yvonne Hooper (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2012). Petitioner
alleged that as a result of receiving a hepatitis B vaccine on February 17, 2011, March 17, 2011,
and July 18, 2011, she suffered from hyperthyroidism due to Graves disease. See Petition at
Preamble, docket no. 1, filed Feb. 7, 2014. On April 29, 2015, the parties filed a stipulation in
which they stated that a decision should be entered awarding compensation to petitioner, even
though respondent denies that the hepatitis B vaccine caused petitioner’s alleged injuries or any
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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other condition. See Stipulation for Award, docket no. 26, filed Apr. 29, 2015. A decision adopting
the parties’ stipulation was issued by the undersigned that same day, awarding petitioner a lump
sum of $50,000.00. See Decision, docket no. 27, filed Apr. 29, 2015. On May 8, 2015, judgment
entered on the compensation decision.

        On September 28, 2015, petitioner filed a motion for attorneys’ fees and costs. In the
motion, petitioner’s counsel at the firm of Conway, Homer & Chin-Caplan requested hourly rates
set forth by the undersigned in McCulloch v. Sec’y of HHS, No. 09-293, 2015 WL 5634323 (Fed.
Cl. Spec. Mstr. Sept. 1, 2015). On October 15, 2015, respondent filed a response to petitioner’s
motion for attorneys’ fees and costs, stating that “while [she] disagrees with the analysis and
findings in [McCulloch], respondent has determined that her resources are not wisely used by
continuing to litigate the issues addressed in that decision.” Response to Motion at 1-2, docket no.
33, filed Oct. 15, 2015. Accordingly, respondent indicated that she “defers to the special master’s
statutory discretion in determining a reasonable fee award for this case.” Id. at 2.

        Petitioner here requests a total award of attorneys’ fees and costs in the amount of
$28,862.08. Motion at 2, docket no. 31, filed Sept. 28, 2015. This amount includes attorneys’ fees
in the amount of $22,219.80, attorneys’ costs in the amount of $6,518.76, and petitioner’s out-of-
pocket costs in the amount of $123.52. Id. at 1. In accordance with General Order #9, petitioner
represents that she incurred reimbursable costs in pursuit of this claim in the amount of $123.52.
See Notice, docket no. 32, filed Sept. 29, 2015.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. § 300
aa-15(e). Based on the reasonableness of petitioner’s request, which is consistent with the rates
and reasoning established in McCulloch, the undersigned GRANTS the request for approval and
payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       (1) in the form of a check jointly payable to petitioner and to petitioner’s attorneys
           at Conway, Homer & Chin-Caplan, in the amount of $28,738.56; and

       (2) in the form of a check payable to petitioner only, Yvonne Hooper, pursuant to
           General Order No. 9, in the amount of $123.52.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court SHALL ENTER JUDGMENT in accordance herewith.3

       IT IS SO ORDERED.

                                              s/ Thomas L. Gowen
                                              Thomas L. Gowen
                                              Special Master


3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

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